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                        13                                  UNITED STATES DISTRICT COURT
                                                          NORTHERN DISTRICT OF CALIFORNIA
                        14
                                                               SAN FRANCISCO DIVISION
                        15
                                IN RE TRANSPACIFIC PASSENGER
                        16      AIR TRANSPORTATION                                  Master File No. C 07-5634 CRB
                                ANTITRUST LITIGATION
                        17                                                          MDL NO. 1913
                        18      This Document Relates To:                           CLASS ACTION
                        19
                                ALL ACTIONS                                         DEFENDANT ALL NIPPON AIRWAYS
                        20                                                          CO., LTD’S OPPOSITION TO
                                                                                    PLAINTIFFS’ MOTION FOR CLASS
                        21                                                          CERTIFICATION

                        22                                                          Judge:        The Honorable Charles R. Breyer
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                          1                                          STATEMENT OF ISSUES

                          2         1. Whether Plaintiffs have sustained their burden under Federal Rule of Civil Procedure 23

                          3     to demonstrate entitlement to certification of the proposed Japan and Satogaeri Classes.

                          4         2. Whether Cotchett, Pitre & McCarthy LLP and Hausfeld LLP should be appointed Co-

                          5     Lead Counsel for the Classes.

                          6         3. Whether Della Ewing-Chow, Nancy Kajiyama, Brandon Maloof, and Harley Oda should

                          7     be appointed as Class Representatives on behalf of the Japan Class.

                          8         4. Whether James Kawaguchi, Shinsuke Kobayashi, and Harley Oda should be appointed as

                          9     Class Representatives on behalf of the Satogaeri Class.

                        10                                        SUMMARY OF ARGUMENT

                        11              Plaintiffs’ motion for class certification suffers from a variety of flaws, any one of which

                        12      prohibits the certification of either proffered class. Plaintiff-passengers seek to certify two

                        13      classes: (1) a Japan Class, which seeks to recover damages for higher airfares they claim

                        14      passengers paid as a result of alleged collusion on fuel surcharges; and (2) a Satogaeri Class,

                        15      which claims damages for higher airfares they claim passengers paid as a result of alleged

                        16      collusion on net fares paid by travel agents for certain discount fares.1 Plaintiffs have not

                        17      demonstrated compliance with Rule 23’s rigorous requirements with respect to either class,

                        18      including the predominance requirement that Plaintiffs demonstrate the ability to measure both

                        19      class-wide impact and damages using common proof. Plaintiffs’ motion must be denied.

                        20              Critical to any analysis of airline pricing is the effect of yield-management systems

                        21      through which airlines, including All Nippon Airways (ANA) and Japan Airlines (JAL),

                        22      automatically adjust airfare prices for individual flights in real-time and in response to customer

                        23      demand and supply, i.e., available seats on the airplane. For example, if an airline initially sets

                        24      prices too high given demand, fewer seats will sell. Based on historical flight and price data, the

                        25      airline’s yield-management software will then offer lower-priced fare classes until a sufficient

                        26      1
                                 Plaintiffs do not assert class claims for any alleged collusion on passenger base fares. Rather,
                        27      Plaintiffs have only alleged collusion with respect to fuel surcharges and satogaeri net fares paid
                                by travel agents.
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                          1     number of seats are sold so as to maximize revenue given likely future bookings up until the

                          2     flight departure, e.g., by reserving seats for higher-priced last-minute business travel. Inversely,

                          3     if the airline sets prices too low given demand, seats will sell relatively quickly. The yield-

                          4     management software will then cease offering those lower-priced seats and sell higher-priced fare

                          5     classes to meet expected future demand. The yield-management process operates continuously,

                          6     from the time the first booking is made until the flight departure date.

                          7             Because yield-management pricing results in significant variability in the prices offered

                          8     for seats on a given flight based on changes in demand, any model purporting to determine prices

                          9     in a hypothetical world, free of an alleged collusive effect, must incorporate the effect of yield-

                        10      management pricing. Plaintiffs’ proffered methodology does not do so, rendering it useless for

                        11      measuring impact and damages in this case.

                        12              In his report, ANA’s expert, Edward A. Snyder, Ph.D., Dean of the Yale School of

                        13      Management, analyzes the effects of the alleged conduct and highlights the importance of

                        14      accounting for both ANA’s and JAL’s yield-management systems. (See Expert Report of Edward

                        15      A. Snyder (“Snyder Report”), Ex. 1 to Declaration of Harrison J. McAvoy (“McAvoy Decl.”).)

                        16      Dean Snyder’s analysis demonstrates that large numbers of purported Japan Class members likely

                        17      were not harmed by the alleged conduct, i.e., they paid lower prices during the alleged conspiracy

                        18      than they would have paid for comparable fares in the periods before and after the alleged

                        19      conduct. In other words, “false positives” permeate the Japan Class and Plaintiffs’ model.

                        20      Plaintiffs’ proffered methodology thus cannot show that all or nearly all class members were

                        21      harmed or by how much, as required to certify the Japan Class. See In re Optical Disk Drive

                        22      Antitrust Litig., 303 F.R.D. 311, 319 (N.D. Cal. 2014); In re High-Tech Emp. Antitrust Litig., 289

                        23      F.R.D. 555, 566 (N.D. Cal. 2013); In re Rail Freight Fuel Surcharge Antitrust Litig., 725 F.3d

                        24      244, 252-53 (D.C. Cir. 2013) (“Common questions of fact cannot predominate where there exists

                        25      no reliable means of proving classwide injury in fact.”).

                        26              Further, the methodology offered by Plaintiffs’ expert, Russell W. Mangum III, Ph.D.,

                        27      Senior Vice President of Litigation Advisory Services at Nathan Associates and Associate

                        28      Professor at Concordia University Irvine School of Business, fails to offer a damages calculation
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                          1     that isolates damages to those stemming from Plaintiffs’ theory of the case, and instead includes

                          2     the effects of changes to IATA-fare pricing, which have immunity under the antitrust laws. Dr.

                          3     Mangum’s methodology for estimating damages also fails to disaggregate the effects of other

                          4     lawful conduct not challenged by Plaintiffs. Under Comcast Corp. v. Behrend, 569 U.S. 27

                          5     (2013), the failure to isolate damages stemming from class plaintiffs’ theory of their case requires

                          6     denial of class certification where, as here, individualized questions of liability (impact) and

                          7     damages predominate common questions.

                          8             Plaintiffs’ proposed Japan Class representatives pose an additional problem for their

                          9     motion: none of them possesses claims typical of the class, or is an adequate representative,

                        10      because each of them purchased their tickets indirectly through travel agents and thus cannot

                        11      properly represent a class of direct purchasers.

                        12              Plaintiffs’ proposed Satogaeri Class is also patently un-certifiable. In addition to Dr.

                        13      Mangum’s failure to account for yield management, Plaintiffs’ proffered methodology for

                        14      measuring impact and damages for the Satogaeri Class does not analyze the prices paid by

                        15      passengers at all. The proposed Satogaeri Class, by definition, is composed entirely of

                        16      passengers who bought their tickets from a travel agent. ANA and JAL both offered satogaeri

                        17      tickets to travel agents on a “net fare” basis, i.e., the travel agent remits a net fare amount to the

                        18      airline while the travel agent sets the ticket price paid by the passenger. (Mangum Report ¶ 191.)

                        19      The passenger pays the price for the ticket to the travel agent, not to the airline. Plaintiffs claim

                        20      that ANA and JAL colluded on the net fares paid by travel agents, not on the ticket prices paid by

                        21      passengers to travel agents. (Mangum Dep. 205:14-206:7, McAvoy Decl., Ex. 2.) The Satogaeri

                        22      Class thus consists entirely of indirect purchasers—neither Plaintiffs’ nor their expert’s

                        23      methodology accounts for that fact—and Plaintiffs’ expert only looks at the net fares, not the

                        24      ticket prices paid by passengers. As a result, Plaintiffs’ motion is flawed both legally, for failing

                        25      to account for federal antitrust law’s bar on indirect-purchaser suits, and from a methodological

                        26      standpoint because Dr. Mangum offers no quantitative analysis to demonstrate impact and instead

                        27      assumes, contrary to evidence in the record, that all increases in net fares resulting from the

                        28      alleged conduct were passed on one-for-one to passengers.
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                          1             Dr. Mangum’s Satogaeri Class methodology also relies entirely on his flawed selection of

                          2     a benchmark fare and the flawed, apples-to-apple-pie comparison of that benchmark fare to

                          3     satogaeri net fares—for only 5 percent of the volume on which Dr. Mangum purports to calculate

                          4     impact and damages. Dr. Mangum did not look at 95 percent of the satogaeri volume or prices.

                          5     Had he done so, he would have seen that a large portion of Satogaeri Class members—including

                          6     the proffered class representatives—may have paid prices lower than Dr. Mangum’s own chosen

                          7     benchmark and so would not have been harmed.

                          8             Because Plaintiffs have not sustained their burden with respect to either proffered class,

                          9     their motion for class certification should be denied.

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                          1                                                 ARGUMENT
                          2     I.      Rule 23 Standard for Class Certification

                          3             Rule 23 sets forth the requirements that a plaintiff must sustain in order to represent a

                          4     class of similarly situated persons. “[C]ertification is proper only if the trial court is satisfied,

                          5     after a rigorous analysis, that the prerequisites of Rule 23(a) have been satisfied.” Wal-Mart

                          6     Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011) (internal quotations and citations omitted). That

                          7     is, the Court may certify a class only if the requirements of numerosity, commonality, typicality,

                          8     and adequacy are satisfied. See Ellis v. Costco Wholesale Corp., 657 F.3d 970, 980 (9th Cir.

                          9     2011); see also Fed. R. Civ. P. 23(a). Moreover, in a class action seeking money damages and

                        10      certification under Rule 23(b)(3), where “class-action treatment is not as clearly called for,” Fed.

                        11      R. Civ. P. 23(b)(3) advisory committee’s note to 1966 amendment, a plaintiff must also establish

                        12      the additional requirements of Rule 23(b)(3), namely predominance and superiority. Comcast,

                        13      569 U.S. at 34 (“Rule 23(b)(3), as an adventuresome innovation, is designed for situations in

                        14      which class-action treatment is not as clearly called for.” (internal quotations omitted)).

                        15              Under the predominance inquiry, a requirement “even more demanding than Rule 23(a),”

                        16      a class may only be certified if “questions of law or fact predominate over any questions affecting

                        17      only individual members.” Id.; Fed. R. Civ. P. 23(b)(3). The predominance requirement seeks to

                        18      ensure that the class action is an appropriate vehicle for a particular case or, conversely, if

                        19      individual questions make common treatment unmanageable. See Amchem Prods., Inc. v.

                        20      Windsor, 521 U.S. 591, 615 (1997). “If, to make a prima facie showing on a given question, the

                        21      members of a proposed class will need to present evidence that varies from member to member,

                        22      then it is an individual question. If the same evidence will suffice for each member to make a

                        23      prima facie showing then it becomes a common question.” High-Tech Emp., 289 F.R.D. at 564

                        24      (internal quotation marks omitted). In antitrust class actions, the predominance requirement

                        25      implicates inter alia the questions of liability, injury (or impact), and damages. Id. (quoting Erica

                        26      P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 809 (2011) (“Considering whether questions

                        27      of law or fact common to class members predominate begins, of course, with the elements of the

                        28      underlying cause of action.”)).
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                          1             While “[t]he main concern of the predominance inquiry under Rule 23(b)(3) is the balance

                          2     between individual and common issues,” Wang v. Chinese Daily News, Inc., 737 F.3d 538, 545-

                          3     46 (9th Cir. 2013) (internal quotation marks omitted), a plaintiff’s failure to demonstrate the

                          4     capability of common treatment of certain issues forecloses class certification. For one, a

                          5     plaintiff must demonstrate class-wide injury or “impact” in order to maintain class claims under

                          6     Section 1 of the Sherman Act. In re Optical Disk Drive Antitrust Litig., 303 F.R.D. 311, 319

                          7     (N.D. Cal. 2014) (a plaintiff “must be able to establish, predominantly with generalized evidence,

                          8     that all (or nearly all) members of the class suffered damages as a result of the defendants’ alleged

                          9     anti-competitive conduct”); High-Tech Emp., 289 F.R.D. at 566; Rail Freight Fuel Surcharge,

                        10      725 F.3d at 252-53 (“Common questions of fact cannot predominate where there exists no

                        11      reliable means of proving classwide injury in fact.”). In evaluating the question of impact, courts

                        12      require that a plaintiff demonstrate the ability to show impact to “all (or nearly all) members of

                        13      the class.” Optical Disk Drive, 303 F.R.D. at 319; In re Lithium Ion Batteries Antitrust Litig., No.

                        14      13-md-2420, 2017 WL 1391491, at *8 (N.D. Cal. Apr. 12, 2017).

                        15              In establishing impact, it is not sufficient to rely on generalized proof of a conspiracy to

                        16      presume impact as Plaintiffs suggest. (Pls.’ Br. 18, 20-21, ECF No. 1119.) Rather, a plaintiff

                        17      must affirmatively establish a class-wide method of impact consistent with Rule 23’s rigorous

                        18      standards. In re High-Tech Emp. Antitrust Litig., No. 11-cv-2509, 2014 WL 1351040, at *23

                        19      (N.D. Cal. Apr. 4, 2014); In re Hydrogen Peroxide Antitrust Litig., 552 F.3d 305, 326 (3d Cir.

                        20      2008). Nor does the existence of a guilty plea in a criminal antitrust action establish impact in

                        21      support of class certification; impact on buyers is not an element of proof in a criminal antitrust

                        22      violation. Shaw v. United States, 371 F. Supp. 2d 265, 272 (E.D.N.Y. 2005) (“[A]ntitrust injury

                        23      [is] not a required element[] to prove a criminal violation of Section 1 of the Sherman Act.”).

                        24              Moreover, a class may not be certified unless a plaintiff’s proffered damage calculation

                        25      includes only those damages caused by the asserted theory of liability. Comcast, 569 U.S at 35

                        26      (“[A] model purporting to serve as evidence of damages . . . must measure only those damages

                        27      attributable to th[e] [asserted] theory [of liability].”) While a plaintiff “need not show that each

                        28      [class] members’ [sic] damages . . . are identical,” Just Film, Inc. v. Buono, 847 F.3d 1108, 1120
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                          1     (9th Cir. 2017) (citing Leyva v. Medline Indus. Inc., 716 F.3d 510, 514 (9th Cir. 2013)), “[i]f the

                          2     plaintiffs cannot prove that damages resulted from the defendant’s conduct,” the predominance

                          3     requirement is not met, and a class must not be certified. Vaquero v. Ashley Furniture Indus.,

                          4     Inc., 824 F.3d 1150, 1154 (9th Cir. 2016) (“We have interpreted Comcast to mean that plaintiffs

                          5     must be able to show that their damages stemmed from the defendant’s actions that created the

                          6     legal liability.” (internal quotation marks omitted)).

                          7             In addition to meeting standards of admissibility under Federal Rule of Evidence 702, an

                          8     expert opinion offered in support of a motion for class certification must additionally survive

                          9     scrutiny and the “rigorous analysis” required by Rule 23. See High-Tech Emp., 289 F.R.D at 567

                        10      (quoting Ellis, 657 F.3d at 982). Under that analysis, the Court must “judg[e] the persuasiveness

                        11      of the evidence presented” and must “resolve any factual disputes necessary to” ensure that Rule

                        12      23’s requirements have been satisfied. Ellis, 657 F.3d at 982-83 (citing Wal-Mart, 564 U.S. at

                        13      351, 353). For instance, if an expert’s opinion fails to address an essential question based on

                        14      lack of analysis or a misspecification, or if the Court is not persuaded by the evidence offered, it

                        15      must resolve that factual issue for purposes of the motion. See Wal-Mart, 564 U.S. at 353-54

                        16      (rejecting expert evidence offered in support of common question as unpersuasive based on

                        17      expert’s failure to include calculation addressing central question of analysis).

                        18      II.     Plaintiffs Have Failed to Demonstrate Common Injury to the Japan Class.

                        19              Plaintiffs’ motion fails to demonstrate common injury to the Japan Class and thus should

                        20      be denied. Plaintiffs’ efforts to demonstrate common impact fail for two overarching reasons.

                        21      First, Plaintiffs’ expert finds injury to class members where none exists; in other words, his

                        22      results are replete with “false positives” and so his model cannot identify whether all or nearly all

                        23      class members have been injured. These false positives are the result of Dr. Mangum’s failure to

                        24      account for the functioning of supply and demand through airline yield-management systems, as

                        25      well as the inclusion of specifications in his overcharge model that result in finding conspiratorial

                        26      overcharges when the model is applied to time periods where no conspiracy is alleged. Second,

                        27      Dr. Mangum’s overcharge model is generally flawed and thus cannot identify class-wide impact

                        28      for numerous other reasons, including because his overcharge estimate is based on less than one-
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                          1     fifth of the itineraries within the proposed Japan Class. Based on these shortcomings, his

                          2     opinions cannot be considered persuasive evidence of impact or damages.

                          3             A.      Plaintiffs’ Proffered Methodology Fails to Account for the Functioning of
                                                Supply and Demand in Airfare Pricing Systems and Includes Large Numbers
                          4                     of “False Positives.”
                          5             Plaintiffs, in attempting to demonstrate common impact, have failed to account for the
                          6     effect of pricing systems employed by ANA and JAL on the prices paid by the proposed Japan
                          7     Class and on the prices those class members would have paid absent the alleged conduct. The
                          8     airline industry has developed and widely employed sophisticated pricing systems, known as
                          9     yield-management systems, starting as early as the late 1970s. Am. Airlines, Inc. v. KLM Royal
                        10      Dutch Airlines, 114 F.3d 108, 109 (8th Cir. 1997). These systems determine the prices charged
                        11      for seats on individuals flights based on supply and demand factors, such as: for each flight, how
                        12      many seats have been sold, how many days are left before the flight, how many travelers are
                        13      likely to purchase a ticket leading up to the flight, how much those travelers are likely willing to
                        14      pay, and what alternative uses for the remaining seats exist. (Snyder Report ¶¶ 65, 69, 71.) The
                        15      effect of these supply and demand factors and the ultimate pricing determination of the system are
                        16      forecasted and derived from, inter alia, data concerning past purchases. (Id. ¶¶ 69, 71.) For
                        17      instance, if seats on a flight are not selling as quickly as anticipated, the pricing of the remaining
                        18      seats might be discounted to encourage additional sales. (Id. ¶ 71.) As a result, prices on any
                        19      given flight are often fluid, reacting to the influences of supply and demand, and are derived from
                        20      the individual preferences of prospective purchasers, which may result in two passengers on the
                        21      same flight sitting in comparable seats but paying two very different prices. (See id. ¶¶ 68, 71-
                        22      72.) For example, one passenger may have booked the flight relatively early when the plane was
                        23      empty, and so paid a discounted fare, while the other was a business traveler who had to book
                        24      last-minute and so paid a very high fare when the plane was almost full. Both ANA and JAL,
                        25      although much later than U.S. carriers, began using yield-management systems (from different
                        26      vendors) during the relevant period, in 2002 and 2005 respectively. (Id. ¶ 66.)
                        27              Incorporating yield-management pricing and its implications is necessary for any analysis
                        28      of airline pricing or methodology designed to model a hypothetical but-for world of airfare
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                          1     pricing absent the alleged collusion described in the Complaint. (Id. ¶¶ 79(iii), 80-81.) Dr.

                          2     Mangum, in his report and deposition testimony, expressly acknowledges that yield management

                          3     is an integral part of airline pricing. (Mangum Report ¶ 29 (

                          4

                          5

                          6                                                                              ); Mangum Dep. 60:21-

                          7     62:22.) This is so because, assuming that a conspiracy to increase prices occurred as alleged, the

                          8     potential impact, or overcharge, cannot be determined without understanding both: (a) how the

                          9     alleged higher price affected demand for seats in the actual world, including whether it caused

                        10      fewer sales and therefore caused the yield-management system to offer discounted fare classes;

                        11      and (b) how the non-collusive but-for price would affect the demand for tickets and thus the

                        12      allocation of fares. (Snyder Report ¶¶ 27, 81.)

                        13              If a collusively set fuel surcharge increased the average fare for a flight, basic economic

                        14      principles dictate that the quantity of seats demanded would decrease; in response, an airline’s

                        15      yield-management system would increase the allocation of seats to lower priced fare classes. (Id.

                        16      ¶¶ 71-72.) Any customer that purchased one of those discount fares during the alleged conspiracy

                        17      may have purchased a more expensive fare absent the alleged collusion, meaning that some

                        18      passengers may have been better off during the alleged collusion than without it. (Id. ¶¶ 71-72,

                        19      80-81.) A key implication of yield management is that “even as the average price of a broad fare

                        20      class rises, sub-groups of passengers may actually become better off as a result.” (Id. ¶¶ 72, 79.)

                        21      The point is that impact on all or nearly all passengers from alleged collusion cannot be presumed

                        22      simply because, on average, prices increased. For some passengers, prices likely went up (when

                        23      compared to the but-for world), but for others prices would have been lower. (Id. ¶¶ 79, 99.)

                        24      Class-wide impact must be tested, which Dr. Mangum fails to do.1

                        25
                                1
                        26       Merely incurring the surcharge is insufficient to establish impact; the relevant inquiry is
                                “whether the plaintiff was overcharged on the total or ‘all-in’ price of a given transaction.” In re
                        27      Air Cargo Shipping Servs. Antitrust Litig., No. 06-md-1175, 2014 WL 7882100, at *44 (E.D.N.Y.
                                Oct. 15, 2014).
                        28
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                          1             Dean Snyder’s analysis, matching comparable itineraries from before or after the alleged

                          2     conspiracy period to those affected by the alleged collusion, indicates that large shares of

                          3     passengers on many routes would have paid more both during Dr. Mangum’s benchmark period

                          4     (before the alleged Japan Class conspiracy) and after the alleged conspiracy. (Id. ¶ 99 (“[W]hile

                          5     some passengers in the but-for world may have paid more for their tickets, other passengers

                          6     would have paid less.”).) For instance, on JAL’s route from New York City to Tokyo, nearly half

                          7     of customers, 48 percent, paid a fare less expensive than the lowest comparable fare available

                          8     during Dr. Mangum’s benchmark period. (Id. ¶ 95.) Depending on the route analyzed, these

                          9     results vary widely. (Id. ¶¶ 95-96.) But across ANA’s and JAL’s most frequently flown routes,

                        10      there is always a substantial share of passengers who would have likely paid less during the

                        11      alleged conspiracy than comparable itineraries in the period before or after the alleged

                        12      conspiracy—ranging from 15 percent to 75 percent. (Id., Exs. V.2A-V.2E, V.3A-V.3E, V.10A-

                        13      V.10E, V.11A-V11E.) Dean Snyder’s analysis demonstrates that Dr. Mangum’s assumptions,

                        14      that harm can be calculated uniformly and that impact can be demonstrated on a class-wide basis,

                        15      are incorrect. (Id. ¶ 99.) A failure to demonstrate that “all or virtually all” class members were

                        16      injured requires that class certification be denied. In re Rail Freight Fuel Surcharge Antitrust

                        17      Litig., No. 07-mc-489, 2017 WL 5311533, at *87 (D.D.C. Nov. 13, 2018) (stating that courts

                        18      have held that the existence of more than 5 or 6% uninjured class members is too many). Here,

                        19      where the evidence suggests that at least 15% of passengers on the most frequently flown flights

                        20      were not injured—and in most cases, much more than 15%—Plaintiffs have failed to sustain their

                        21      burden. See id. at *87-88 (denying class certification where 12.7%, or 2,037 members, of the

                        22      class were uninjured).

                        23              While Dr. Mangum recognizes the importance of yield-management systems to airline

                        24      pricing, he fails entirely to incorporate their effects into his methodology purporting to

                        25      demonstrate class-wide impact. Dr. Mangum admitted in his deposition that

                        26                                                                                             :

                        27

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                          1     certification. Rail Freight Fuel Surcharge, 725 F.3d at 252-53, 254-55. This is precisely what

                          2     Dr. Mangum’s model does.

                          3             A prior opinion of Dr. Mangum’s has also been criticized for failing to account for an

                          4     alleged conspiracy’s effect on individual customers. In In re Florida Cement & Concrete

                          5     Antitrust Litigation, Dr. Mangum offered testimony in support of class certification in a case

                          6     involving allegations of a conspiracy among Florida “cement companies to fix, raise, stabilize, or

                          7     maintain prices of . . . ready-mix concrete.” No. 09-23187, 2012 WL 27668, at *1 (S.D. Fla. Jan.

                          8     3, 2012). The court denied plaintiffs’ motion for class certification on the basis that Dr.

                          9     Mangum’s report failed to provide a methodology for assessing class-wide impact or damages.

                        10      Specifically with respect to impact, the court held that, because certain of the defendants’

                        11      customers did not pay more during the alleged conspiracy, common impact could not be

                        12      demonstrated. Id. at *9. There, the record evidence, including the defendants’ expert evidence,

                        13      demonstrated that “numerous customers . . . paid no more, and often less,” during the period of

                        14      the alleged collusion, and that empirical analysis indicated “that some class members’ prices

                        15      increased, while many [c]lass members’ prices stayed the same or decreased.” Id. Because

                        16      similar false positives are present in Dr. Mangum’s methodology here, Plaintiffs have not

                        17      demonstrated the capability to show common impact.

                        18              In addition to ignoring the effect of yield management on pricing, Dr. Mangum’s

                        19      methodology is afflicted with another source of false positives: Dr. Mangum’s overcharge

                        20      model finds the highest overcharges outside of the alleged period of collusion and outside of the

                        21      class period. See Rail Freight, 2017 WL 5311533, at *88-89 (false positives in damages model

                        22      where overcharges found for persons “unaffected by the alleged conspiracy”). A valid

                        23      overcharge model should predict overcharges during the period of the alleged conspiracy but

                        24      should predict no overcharges (or minimal overcharges) outside of the alleged conspiracy period.

                        25      (Snyder Report ¶ 146.) Dr. Mangum’s model, however, predicts overcharges in 2004, 2008, and

                        26      2009, when no overcharges are alleged or claimed. (Id. ¶ 147.) That suggests that Dr. Mangum’s

                        27      model is capturing changes in price unrelated to any claimed conspiratorial conduct, and instead

                        28      is capturing changes related to economic factors he has failed to account for. (Id. ¶¶ 147-148.)
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                          1             Dr. Mangum also offers an overview of the conditions of the industry surrounding fuel

                          2     surcharges, suggesting they are conducive to common impact. (Mangum Report ¶¶ 108-115.)

                          3     But courts have repeatedly held that evidence regarding industry characteristics conducive to

                          4     class-wide impact is insufficient to demonstrate class-wide impact. E.g., Optical Disk Drive, 303

                          5     F.R.D. at 320; Graphics Processing, 253 F.R.D. at 502.

                          6             Moreover, Dr. Mangum’s own opinion undermines his assertion of impact. Dr. Mangum

                          7     is unaware of any communications between ANA and JAL concerning passenger base fares for

                          8     travel from the U.S. to Japan (other than IATA fares which receive antitrust immunity).

                          9     (Mangum Dep. 237:1-238:9.) As he asserts,

                        10

                        11                                                               (Mangum Report ¶ 182.) As can be

                        12      inferred from Dean Snyder’s analysis, substantial percentages of passengers paid lower prices

                        13      (base fares plus fuel surcharges) during the alleged conspiracy period. (Snyder Report ¶ 30.) In

                        14      other words, base fares were lower, ANA and JAL continued to compete, and there was no

                        15      anticompetitive impact.2

                        16              B.      Plaintiffs’ Proffered Methodology Contains a Number of Additional Flaws.

                        17              In addition to picking up false positives, Dr. Mangum’s model suffers from a litany of

                        18      flaws and misspecifications that render his analyses unpersuasive for the purpose of evaluating

                        19      Rule 23 predominance. Each one of these flaws, standing alone, further calls into question Dr.

                        20      Mangum’s conclusion of class-wide impact to the Japan Class.

                        21              First and foremost, Dr. Mangum’s overcharge estimate unnecessarily culls from the

                        22      population of itineraries analyzed 83 percent of itineraries purchased by the proposed Japan Class.

                        23      In other words, Dr. Mangum’s overcharge estimate is based on less than one out of five, or 17

                        24      percent, of the proposed class itineraries or transactions. (Snyder Report ¶ 117.) Yet he applies

                        25      his overcharge estimate to all the itineraries, including the excluded 83 percent. Because the vast

                        26      2
                                 As demonstrated in ANA’s Motion for Summary Judgment (filed May 7, 2018), ANA’s and
                        27      JAL’s coordination on fuel surcharges was with their regulator, the Japan Civil Aviation Bureau,
                                which required that ANA’s and JAL’s fuel surcharges be set only to recover higher fuel costs.
                        28
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                          1     majority of the proposed class is not used to estimate the overcharge in Dr. Mangum’s regression,

                          2     he cannot reliably conclude that all or nearly all class members have been harmed. (Id.) An

                          3     expert’s methodology that excludes a large number of transactions from its analysis cannot be

                          4     relied on as persuasive evidence of impact. See Rail Freight, 2017 WL 5311533, at *82 (rejecting

                          5     as unpersuasive evidence of impact expert’s analysis excluding 68% of the subject transactions).

                          6             In fact, not even all of the named plaintiffs’ itineraries are included among those analyzed

                          7     by Dr. Mangum: only two-thirds of the itineraries associated with the four named plaintiffs

                          8     included in the proposed Japan Class are included in Dr. Mangum’s model. The result of these

                          9     exclusions is that Dr. Mangum’s model cannot be counted on to provide an accurate

                        10      understanding even of the impact to the named plaintiffs, much less the class at large. (Snyder

                        11      Report ¶¶ 120-121.)

                        12              Second, even accepting Dr. Mangum’s approach as an acceptable model for estimating

                        13      impact and overcharges—it is not—if applied to certain subsets of the Japan Class using his exact

                        14      specification, rather than averaged across the entire class, the model indicates that about one in

                        15      three of the proposed class did not suffer an overcharge—including the named plaintiffs. If Dr.

                        16      Mangum’s model is modified to look at each distinct combination of airline-route-itinerary fare

                        17      basis code, rather than averaging all combinations, his model predicts that a significant share of

                        18      itineraries have negative overcharge estimates, or those customers would have been better off as a

                        19      result of the alleged higher prices during the claimed conspiracy period. (Snyder Report ¶¶ 118-

                        20      119.) In other words, by using an average overcharge, Dr. Mangum masks the variability among

                        21      the proposed class members, many of which, even according to his own model’s specifications,

                        22      did not suffer harm. (See id.)

                        23              Third, Dr. Mangum, in constructing his model, ignored the fact that a very large number

                        24      of itineraries relied upon were purchased through travel agents at prices different than those

                        25      incorporated in his model. Specifically, at least 37.5 percent of the proposed Japan Class

                        26      members purchased their tickets indirectly, either as Satogaeri discount fares or as part of an

                        27      inclusive tour package. (Id. ¶ 160.) Satogaeri fares were sold to travel agents on a “net fare”

                        28      basis, meaning that travel agents were free to mark-up the net fare price received from the airline
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                          1     damages in [a] class action must measure only those damages attributable to [the] theory”

                          2     underlying the claim asserted. Comcast Corp. v. Behrend, 569 U.S. 27, 35 (2013). “If the model

                          3     does not even attempt to do that, it cannot possibly establish that damages are susceptible of

                          4     measurement across the entire class for purposes of Rule 23(b)(3).” Id. Indeed, proof of class-

                          5     wide damages may not be possible “when factors affecting pricing constantly vary in the industry

                          6     involved.” Allied Orthopedics Appliances, Inc. v. Tyco Healthcare Grp. L.P., 247 F.R.D. 156,

                          7     175 (C.D. Cal. 2007).

                          8             Just as Plaintiffs and Dr. Mangum have ignored the effect of yield-management systems

                          9     on the impact to the proposed Japan Class, they have also not offered a measure of damages that

                        10      only accounts for the alleged unlawful conduct and that incorporates the effects of airline industry

                        11      pricing. First, Plaintiffs and their expert have failed to account for the effect on prices resulting

                        12      from IATA fare increases, price increases that are immune under the antitrust laws. Second,

                        13      because yield management increases average prices and because JAL began using yield

                        14      management during the alleged conspiracy period, any proposed methodology must account for

                        15      the lawful increases in pricing experienced by proposed class members due to the implementation

                        16      of yield management and must isolate the effects of the alleged conspiracy independent of that

                        17      increased pricing. Dr. Mangum’s damages model has not done so. Under Comcast, those failures

                        18      render Dr. Mangum’s damages model invalid, and thus Plaintiffs have failed to offer common

                        19      proof of class-wide damages.

                        20              A.      Dr. Mangum’s Average Overcharge Calculation Is Not Limited to the Effects
                                                of Plaintiffs’ Proffered Theory of Liability.
                        21
                                        Dr. Mangum’s average overcharge estimate does not account for the influence of IATA
                        22
                                fare increases on the prices paid by individual members of the proposed class. Under DOT
                        23
                                regulation, IATA fares for travel between the United States and Japan received antitrust immunity
                        24
                                throughout the alleged conspiracy period (and continue to do so). See LaFlamme v. Societe Air
                        25
                                France, 702 F. Supp. 2d 136, 144 (E.D.N.Y. 2010); Agreements adopted by the Int’l Air Transp
                        26
                                Assoc. relating to the conduct of Traffic Conferences, Order 85-5-32, 1985 WL 58182 (Dep’t of
                        27
                                Transp. 1985). Accordingly, any effect from changes to IATA fares must be disaggregated from
                        28
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                          1     any proffered estimate of damages from the alleged unlawful conduct. See Comcast, 569 U.S. at

                          2     35 (damages model must account for “the differences between supra-competitive prices in general

                          3     and supra-competitive prices attributable to the” proffered theory of liability); Mendez v. U.S.

                          4     Nonwovens Corp., 312 F.R.D. 81, 100 (E.D.N.Y. 2014) (denying certification for failure to

                          5     disaggregate effects of lawful employment policies).

                          6             IATA fare increases also lawfully affect non-IATA fares.

                          7

                          8

                          9                                                             (Declaration of M. Ishii ¶ 4 (May 7, 2018)

                        10      (“Ishii Decl.”); see also Snyder Report ¶¶ 149-150.)

                        11              Dr. Mangum admits that

                        12                                                                                                 (See

                        13      Mangum Dep. 167:15-21.)

                        14                                                                                (Id. 237:01-238:09.)

                        15      Empirical analyses by ANA’s expert, Dean Snyder, indicate that it is highly likely that increases

                        16      in IATA fares can explain a substantial portion of price increases during the class period—and

                        17      indicate that some portion of Dr. Mangum’s average overcharge estimate for the Japan Class can

                        18      be explained by increases to IATA fares. (Snyder Report ¶¶ 150-151.) Because some portion of

                        19      Dr. Mangum’s claimed average overcharge can be attributed to prices determined as a result of

                        20      conduct that receives immunity under the antitrust laws, and it is unclear the degree to which that

                        21      lawful effect influenced prices paid by individual proposed class members at various points

                        22      during the class period, the estimate is insufficient common proof of damages under Comcast.

                        23              B.      Dr. Mangum’s Overcharge Model Ignores the Effect of Yield Management on
                                                Average Prices.
                        24
                                        As discussed above, yield management results in some passengers paying higher prices,
                        25
                                given their individual demand and available supply of seats, and in other passengers paying lower
                        26
                                prices. On average, however, yield management may increase the revenue that airlines receive
                        27
                                and therefore increases average prices. (Snyder Report ¶ 125.)
                        28
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                          1             JAL implemented yield management in 2005,3 during the alleged conspiracy period.

                          2     Therefore, Dr. Mangum’s average overcharge improperly includes the lawful increase on average

                          3     prices due to JAL’s use of yield management.

                          4     IV.     Plaintiffs Have Failed to Offer Any Methodology Demonstrating Impact to the
                                        Satogaeri Class.
                          5
                                        With respect to the Satogaeri Class, Plaintiffs’ motion for class certification fails to
                          6
                                proffer a cognizable methodology to demonstrate class-wide impact.
                          7
                                        The proposed Satogaeri Class, by definition, is composed entirely of passengers who
                          8
                                bought their tickets from travel agents who set the ultimate prices. ANA and JAL both offered
                          9
                                satogaeri tickets to travel agents on a “net fare” basis, i.e., the travel agent remits a net fare
                        10
                                amount to the airline while the travel agent sets the ticket price paid by the passenger. (Mangum
                        11
                                Report ¶ 191.) The passenger pays the ticket price to the travel agent, not to the airline. Plaintiffs
                        12
                                claim that ANA and JAL colluded on the net fares paid by travel agents, not on the ticket prices
                        13
                                paid by passengers to travel agents. (Mangum Dep. 205:14-206:7.) The Satogaeri Class thus
                        14
                                consists entirely of indirect purchasers.
                        15
                                        As an initial matter, because the Satogaeri Class is composed entirely of indirect
                        16
                                purchasers, Plaintiffs’ motion for class certification can be denied without even reaching the Rule
                        17
                                23(b) requirements. As a matter of longstanding federal antitrust law, claims of indirect
                        18
                                purchasers are barred. Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977). Plaintiffs have not
                        19
                                asserted that the class’s claims fall under an exception to that doctrine, nor offered any sort of
                        20
                                analysis in support, and thus those claims fail as a matter of law. (See ANA’s Motion for
                        21
                                Summary Judgment 1-2, 9-13, ECF No. __.)
                        22
                                        Plaintiffs have also defined the Satogaeri Class as “[a]ll persons and entities that directly
                        23
                                purchased Satogaeri fares from JAL or ANA.” (Pls. Notice of Motion.) As a result, Plaintiffs
                        24

                        25      3
                                  ANA-00329566, McAvoy Decl., Ex. 10; see also Press Release, Sabre Airline Solutions, JAL
                        26      Expected to Generate Additional Revenue Using Sabre Airline Solutions Revenue Management
                                Technology, (Aug. 24, 2005), available at https://www.sabre.com/insights/releases/jal-expected-
                        27      to-generate-additional-revenue-using-sabre-airline-solutions-revenue-management-technology-
                                worlds-third-largest-airline-group-chooses-airmax-for-managing-revenues-from-its-international/.
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                          1     member absorbed the overcharge or was otherwise harmed by having to pay a higher price . . . .”).

                          2                                                                   is plainly insufficient. Conclusions

                          3     supported “only by the ipse dixit of the expert,” rather than a connection to data, are inadmissible,

                          4     Pecover v. Electronic Arts Inc., No. 08-2820, 2010 WL 8742757, at *4 (N.D. Cal. Dec. 21, 2010),

                          5     much less persuasive evidence of class-wide impact. Contrary to the naked conclusions in his

                          6     report,

                          7

                          8                    (Mangum Dep. 217:15-218:6.)

                          9               Record evidence demonstrates that any alleged overcharge was not uniformly passed on to

                        10      passengers. First,

                        11

                        12                     (HIS Int’l Tours Dep. (Sueishi) 96:20-22, McAvoy Decl., Ex. 3.) In addition,

                        13

                        14                                                                 (Id. 92:24-93:8; Mangum Report ¶ 201.)

                        15

                        16                       (HIS Int’l Tours Dep. (Sueishi) 95:02-09, 98:01-20), and

                        17                                                           (Id. 95:13-16.) As JAL informed Plaintiffs’

                        18      economist,

                        19                                               (JAL Responses to Nov. 2, 2017 Follow-up Questions #5 at

                        20      2, McAvoy Decl., Ex. 9.) Where, as here, “the evidence demonstrates that resellers do not act

                        21      uniformly . . . [,] that is, that there is not a single pass-through rate for all” resellers, class

                        22      certification is inappropriate. Cf. Methionine, 204 F.R.D. at 165.5

                        23      V.        Dr. Mangum’s Opinions Regarding Damages to the Satogaeri Class Are Unreliable
                                          and Unpersuasive.
                        24
                                          Setting aside Plaintiffs’ and their expert’s decision to ignore their indirect-purchaser
                        25
                                5
                        26       Further complicating any pass-through analysis of Satogaeri fares is the fact that over one-third
                                of the passengers that bought a Satogaeri fare bought the ticket as part of an inclusive tour
                        27      package of which airfare was only one component. (Snyder Report ¶ 182.)
                        28
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                          1     and Kobayashi, were not injured by the alleged conspiracy; based on Plaintiffs’ expert’s own

                          2     benchmarks, both would have purchased more expensive fares in the but-for world. (Id.)

                          3             The calculated results of Dr. Mangum’s methodology demonstrate that his choice of

                          4     benchmarks is altogether flawed. Indeed, his own results, when examined closely, indicate that

                          5     for certain time periods and certain flights there were either no overcharges (i.e., no impact or

                          6     damages), or that there were inconsistent overcharges depending on which airline one considers,

                          7     ANA and JAL. For example,

                          8

                          9
                        10                                                        (Id. ¶ 185; see also Mangum Report, Table 19.)

                        11              Similar to the Japan Class, the results of Dr. Mangum’s Satogaeri methodology suffer

                        12      from false positives. Strikingly, Plaintiffs and their expert assert that passengers that purchased

                        13      Satogaeri tickets for flights on which ANA and JAL did not compete were impacted by price

                        14      increases stemming from the alleged conspiracy. Specifically, during the entire class period,

                        15      ANA offered flights originating in Washington, D.C., while JAL did not; similarly, for nearly all

                        16      of the class period, JAL operated a flight out of Chicago, but ANA did not.

                        17

                        18                                           (Snyder Report ¶¶ 187-188.) In addition, record evidence

                        19      indicates that JAL personnel in its Chicago and Honolulu sales offices did not coordinate with

                        20      ANA on the prices or terms for Satogaeri flights originating in those cities. (Id. ¶ 192.) Yet, Dr.

                        21      Mangum’s methodology results in over $6 million of damages on these two routes. (Id. & n.294.)

                        22              Finally, Dr. Mangum’s oversimplified methodology completely ignores the fact that both

                        23      ANA and JAL offered a variety of Satogaeri net fares, some of which changed price throughout

                        24      the day in response to competition, and instead merely picks one form of Satogaeri net fare to

                        25      serve as the actual allegedly collusive price. Specifically, ANA offered, in addition to the M-

                        26      Class net fare used by Dr. Mangum, a B-Class Satogaeri net fare, which was available for more of

                        27      the class period. JAL, in addition to the K-Class net fare used by Dr. Mangum (available for less

                        28      than one-fifth of the class period), offered two other Satogaeri net fares, one of which was
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                          1     available for nearly the entire class period. (See id. ¶ 178 & n.267.) In addition, ANA and JAL

                          2     sporadically offered “Satogaeri Specials” which were offered on a case-by-case basis and which

                          3     changed price frequently, sometimes throughout the day. (Id. ¶ 166 & n.249.) Dr. Mangum does

                          4     not offer a principled basis for his selections.

                          5     VI.     Ascertaining Impact and Damages in This Case Requires Individualized Inquiry.
                          6             As discussed in Section II.A, the use of yield-management systems in the airline industry
                          7     means that prices are highly variable, depending on passenger demand for each individual flight,
                          8     the number of seats sold on the flight in response to prior demand, the time remaining before the

                          9     flight, and the number of seats that the yield-management system subsequently expects to sell.
                        10      That results in pricing that is highly fluid and dependent on supply and demand factors discrete to
                        11      each flight being analyzed. Therefore, a damages model for this industry must look at the actual
                        12      prices paid by passengers and must model the actual and but-for allocation of seats to different
                        13      fare classes. But Dr. Mangum’s fails to do so. See supra, at II.A.
                        14              Dean Snyder’s analysis shows substantial percentages of passengers on each route who
                        15      could have paid more, the same, or less during the alleged conspiracy than before or after it.
                        16      (Snyder Report, Exs. V.2A-V.2E, V.3A-V.3E, V.10A-V.10E, V.11A-V11E.) Moreover, when
                        17      determining what fare a passenger would have paid absent the alleged conduct, the model must
                        18      account for that passenger’s individual preferences, whether the yield-management system made
                        19      available a matching fare at the time or some other time the passenger was willing to travel, and

                        20      what the price of that matching fare was. For example with a fare from San Francisco to Tokyo:

                        21      Did the passenger have to go to Tokyo for business? Or was the passenger looking to take a

                        22      vacation anywhere in Asia or Southeast Asia? Did the passenger have to take vacation at a

                        23      specific time? Or was the passenger’s schedule flexible? Did the passenger want to fly on

                        24      weekends only? Did the passenger dislike connecting flights? Or was the passenger willing to

                        25      connect to save money or upgrade to business class?

                        26              Differences in passengers’ individual preferences are evident from the deposition

                        27      testimony of the named plaintiffs. Brenden Maloof, for example, was traveling on business under

                        28      a time constraint to attend a meeting, and decided to book a business-class ticket for his
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                          1     September 2006 trip from New York to Tokyo. (Maloof Dep. 63:17-64:02, McAvoy Decl.,

                          2     Ex.4.) James Kawaguchi purchased an economy ticket but was willing to use frequent flyer miles

                          3     to be upgraded to business class. (Kawaguchi Dep. 69:14-69:25, McAvoy Decl., Ex. 5.) Rachel

                          4     Diller was constrained to flights on specific dates due to work obligations (Diller Dep. 76:08-

                          5     76:18, McAvoy Decl., Ex. 6), while Nancy Kajiyama was willing to change her travel dates to

                          6     obtain a better fare (Kajiyama Dep. 65:21-66:03, McAvoy Decl., Ex. 7). Roy Onomura booked

                          7     itineraries with lengthy layovers in order to get the best fare available. (Onomura Dep. 53:09-

                          8     54:15, McAvoy Decl., Ex. 8.)

                          9             Because Dr. Mangum’s model does not incorporate how airline pricing actually works, it

                        10      does not provide a class-wide methodology to address those individualized questions or to show

                        11      impact or damages. Without a model that incorporates yield management, the questions of

                        12      impact and damages to the class will necessarily devolve into a series of highly individualized

                        13      inquiries. Class certification is therefore inappropriate.

                        14      VII.    Plaintiffs’ Proffered Japan Class Representatives Satisfy Neither of Rule 23(a)’s
                                        Typicality or Adequacy Requirements.
                        15
                                        Plaintiffs’ request to certify the Japan Class can be denied for yet another independent
                        16
                                reason: none of the four proffered representatives satisfies the threshold requirements of Rule
                        17
                                23(a). First, an examination of Dr. Mangum’s own overcharge model indicates that each
                        18
                                proffered representative was either excluded from the model or suffered a negative overcharge,
                        19
                                meaning Plaintiffs have not demonstrated that any of their proffered representatives have been
                        20
                                injured. Second, all of the proffered class representatives are indirect purchasers and thus, by
                        21
                                definition, are not members of the very class they purport to represent.
                        22
                                        Dr. Mangum’s model, when examined, does not support the fact of injury to the proffered
                        23
                                Japan Class representatives. As an initial matter, the model excludes the itineraries of two
                        24
                                representatives, Ms. Chow and Mr. Oda, and is thus not persuasive evidence of their injury.
                        25
                                (Snyder Report ¶¶ 121-122 & n.182.) In addition, when the itineraries of the two representatives,
                        26
                                Ms. Kajiyama and Mr. Maloof, are isolated within Dr. Mangum’s model, it generates negative
                        27
                                overcharges, indicating that they were better off during the alleged conspiracy. (Id. ¶ 121.)
                        28
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                          1             An even more glaring deficiency, all of the class representatives offered for the Japan

                          2     Class purchased their tickets indirectly (ANA’s Motion for Summary Judgment 1-2, ECF No. __)

                          3     and thus, by definition, are not members of the very class they purport to represent. These

                          4     characteristics of the Japan Class representatives implicate several Rule 23 requirements and

                          5     make their certification as class representatives inappropriate. In addition, because Plaintiffs have

                          6     disregarded the fact of indirect purchasers in the proposed class, it is not clear whether Plaintiffs

                          7     will be able to precisely identify which passengers purchased their tickets directly, and thus who

                          8     is and who is not a class member, implicating ascertainability concerns.

                          9             “A class representative must be part of the class and possess the same interest and suffer

                        10      the same injury as the class members.” Amchem Prods., 521 U.S. at 625-26. The requirement

                        11      that a class representative be a member of the class implicates both the typicality and adequacy

                        12      requirements of Rule 23(a), which require that “the claims . . . of the representative parties [be]

                        13      typical of the claims . . . of the class,” and that “the representative parties . . . fairly and

                        14      adequately protect the interests of the class,” respectively. Fed. R. Civ. P. 23(a)(3), (4). “The

                        15      purpose of the typicality requirement is to assure that the interest of the named representative

                        16      aligns with the interests of the class.” Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir.

                        17      1992). Where a proposed class representative has a defense separate and apart from the class she

                        18      purports to represent, her request to represent the class should be denied. Id. (“[C]lass

                        19      certification is inappropriate where a putative class representative is subject to unique defenses

                        20      which threaten to become the focus of the litigation.” (quotations omitted)).

                        21              Here, because all of the proposed Japan Class representatives purchased their tickets from

                        22      intermediary travel agents at a price different than that charged by ANA or JAL to the travel

                        23      agents, the proposed representatives are indirect purchasers and barred from recovery.7 Because

                        24      all of the class representatives are subject to the indirect-purchaser defense, which does not apply

                        25      to the direct-purchaser class defined by the plaintiffs, they are inappropriate class representatives.

                        26      7
                                  See ANA’s Motion for Summary Judgment 1-2, 9-13, ECF No. __, for additional detail
                        27      regarding the proposed Japan Class representatives’ statuses as indirect purchasers barred from
                                asserting claim for damages.
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                          1             Plaintiffs’ failure to raise issues concerning indirect purchasers also implicates the

                          2     ascertainability of the proposed Japan Class. In addition to the explicit requirements of Rule 23, a

                          3     “party seeking class certification must demonstrate that an identifiable and ascertainable class

                          4     exists.” Mazur v. eBay Inc., 257 F.R.D. 563, 567 (N.D. Cal. 2009). Although “the class need not

                          5     . . . identified at the commencement of the action,” to obtain class certification, a plaintiff must

                          6     put forth a class definition that is identifiable; class certification may be denied where the movant

                          7     has not “suggested a method by which to determine how to identify” the class members. See id.

                          8     567-68 (internal quotation marks omitted). Plaintiffs have not even recognized that their

                          9     proposed Japan Class representatives are indirect purchasers, much less proposed a method for

                        10      identifying which passengers that bought airfare during the class period bought their tickets

                        11      directly. Without a proposed method for identifying the Japan Class members, the class

                        12      definition is not sufficiently definite and it will not be administratively feasible for the court to

                        13      identify them, much less order the delivery of notice and request opt-outs. See Fed. Judicial Ctr.,

                        14      Manual for Complex Litig. § 21.222 (4th ed. 2004) (“Defining the class is of critical importance

                        15      because it identifies the persons (1) entitled to relief, (2) bound by a final judgment, and (3)

                        16      entitled under Rule 23(c)(2) to the ‘best notice practicable’ in a Rule 23(b)(3) action.”).

                        17                                                 CONCLUSION
                        18              For the foregoing reasons, Plaintiffs have not sustained the burden necessary to grant class
                        19      certification. ANA respectfully asserts that the motion should be denied.
                        20

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